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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                                               CASE NUMBER:


                                                                 2:21−cv−06320−MCS−JC
   MOSAFER INC., et al.
                                               Plaintiff(s),

            v.
   ELLIOTT BROIDY, et al.                                       RESPONSE BY THE COURT TO NOTICE TO
                                             Defendant(s).
                                                                     FILER OF DEFICIENCIES IN
                                                                 ELECTRONICALLY FILED DOCUMENTS




   In accordance with the Notice to Filer Of Deficiencies In Electronically Filed Documents
   REGARDING:
                                121,
      12/31/2021              122
                                               POS (Declaration of Service)

   Date Filed                  Doc. No.      Title of Doc.
   IT IS HEREBY ORDERED:
          The document is accepted as filed.




                                                         Clerk, U.S. District Court

   Dated: January 3, 2022                                By: /s/ Stephen Montes
                                                            Deputy Clerk


   cc: Assigned District Judge and/or Magistrate Judge




   G−112B (01/07)   RESPONSE BY THE COURT TO NOTICE TO FILER OF DEFICIENCIES IN ELECTRONICALLY FILED DOCUMENTS
